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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                            UNITED STATES DISTRICT COURT                             July 08, 2019
                             SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                                 HOUSTON DIVISION

MALIBU MEDIA, LLC,                            §
                                              §
        Plaintiff,                            §
VS.                                           §           CIVIL ACTION NO. 4:18-CV-2971
                                              §
JOHN DOE., and KIT MAYBIN                     §
                                              §
        Defendants.                           §
                                              §

                                    ORDER OF DISMISSAL


      In accordance with the Notice of Dismissal filed June 10, 2019, (Doc # 27), it is hereby

ORDERED that this action be dismissed with prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure.




       It is so ORDERED. 07/08/2019.


                                              ___________________________________
                                              The Honorable Alfred H. Bennett
                                              United States District Judge




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